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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF KENTUCKY
                      CENTRAL DIVISION at LEXINGTON

UNITED STATES OF AMERICA,             )
                                      )
       Plaintiff,                     )
                                      )            Civil Case No.
v.                                    )             17-cv-498-JMH
                                      )
NATISHA R. BARNES, et al.,            )
                                      )
       Defendants.                    )                   ORDER
                                      )

                                      ***

      This matter is before the Court on the report and motion of

Richard R. Melville, court-appointed Warning Order Attorney for

Defendant Unknown Spouse of Natisha Barnes, for fees and costs [DE

13,   14].     The   Court   having   considered    the    motion   and   being

otherwise sufficiently advised,

      IT IS HEREBY ORDERED:

      (1) That the Motion [DE 14] be, and the same hereby is,

GRANTED.

      (2)    That the Warning Order Report [DE 13] be, and the same

is ACCEPTED.

      (3)    That the United States shall pay the customary fee of

$200.00, in addition to $12.72 for costs incurred in this action

to the named Warning Order Attorney.
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     (4) That the fees and costs awarded to the named Warning Order

Attorney be, and the same hereby are, TAXED AS COSTS to this

action.

     (5) That the named Warning Order Attorney be, and the same

hereby is, DISCHARGED of further responsibilities in this matter.

     This the 17th day of May, 2018.
